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UNITED STATES DISTRICT CoURT

FOR THE

WESTERN DISTRICT OF TENNESSEE

 

ORDER OF PRODUCTION
NO: 1'203-10033-01-T
USA v' Curtis Murphy

AD Prosequendum
FOR; Re-Sentenc ing

TO: USM, Westem District of TN

Wal`d€rl, FCI Forrest Cit:y, AR, Federal Correctional Institution
1301 Dale Bumpers Road, Forrest City, AR 72335

YOU ARE HEREBY COMMANDED to have the person of

Curtis Murphy , Inmate # 19027-076

!

 

by you restrained of his/her liberty, as it is said, by Whatsoever names detained, together With the
day and cause of his being taken and detained, before the Honorable James D. Todd, U. S.
District Court Judge, for the Western District of Tennessee, at the room of said Court, in the City

of Jackson, Tennessee, at 8:45 a.m. on the 29th day of July , 20 05

J

 

then and there to do, submit to, and receive Whatsoever the said Judge shall then and there
determine in that behalf; and have you then and there this Writ; further, to hold him in federal

custody until disposition of this case and to produce him for Such other appearances as this court

may direct viii Q(AM
ENTERED THIS 0 DAY oF (/ ,20 0 5/ .

JAM . TODD
UNI D STATES DISTRICT JUDGE

This document entered on the docket sheet In compliance
with Rule 55 and/or 32(b) FRCrP on

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 136 in
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Larry E. Fitzgerald
FITZGERALD & HARRIS
22 N. Second Street

Ste. 410

l\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

